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                    Exhibit I
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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  UMG RECORDING S, INC., et al.,

         Plaintiffs,                           Case No. 8:19-cv-710-MSS-
                                               TGW
  v.

  BRIGHT HOUSE NETWORK S,
  LLC

         Defendant.

                       JOINT PROPOSED VOIR DIRE QUESTIONS

         The parties respectfully submit their jointly proposed voir dire questions,

   which are attached as Exhibit A. These questions are intended to supplement,

   not to replace, the Court’s standard voir dire questions. See

   https://www.flmd.uscourts.gov/sites/flmd/files/judges/forms/scriven-

   general-voir-dire-questions.pdf.

        Exhibit A includes one disputed question, which Plaintiffs propose asking, to

   which Bright House objects.




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                                                EXHIBIT A

                                           Voir Dire Questions

     CONNECTIONS TO THE PARTIES, WITNESSES, OR LAW FIRMS:

     1.   I am going to read to you a list of names of the parties 1, the attorneys and
          law firms, and individuals who might appear as witnesses in this case. For
          those who recognize any of the names, please answer the following
          questions:

               • Are you personally acquainted with any individuals named, or any
                 officer, director, or employee of any of the companies named?

               • Do you or any member of your household now own, or have you
                 or any such member ever owned, any stocks or bonds in any of the
                 companies?

               • Have you, any family member, or anyone close to you had any
                 dealings with, or relied financially in any way on, any of the
                 companies or law firms?

               • Do you or someone close to you have any strong feelings, positive
                 or negative, toward any of these companies or law firms?

     BACKGROUND INFORMATION

     2.   Where do you primarily get your news?

     3.   Have you or someone close to you ever owned a business? Please
          explain.

 1
   Plaintiffs propose including, and Bright House objects to including, the following current and former
 owners of Bright House in the list of parties/entities read aloud with Question 1: Charter
 Communications, Inc., Spectrum, and Advance Newhouse. Bright House objects to this question on the
 grounds it is duplicative, unnecessary, prejudicial, and the subject of a pending motion in limine. The
 Court’s standard voir dire questions and a jointly proposed question will already require identification of
 the occupations of potential jurors, their adult children, and their families and any jobs in relevant
 fields. Once jurors with potentially relevant connections are identified, those jurors can disclose
 employers in a neutral manner that does not call attention to any particular non-party employers. There
 is no basis to include entities that are not parties to this case and/or not part of the evidence in this case,
 and whose mention is the subject of a pending motion in limine, in a voir dire question about parties and
 witnesses in the case, and suggest that the Court believes that these entities are related to Bright House
 or otherwise relevant to the case.
                                                        2
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   4.    Are you involved in any hobbies, clubs or organizations? Do you hold any
         position of leadership (board, secretary, etc.) for any of these
         organizations?

   EXPERIENCE WITH OR OPINIONS ABOUT THE LEGAL SYSTEM

   5.    Have you ever been a plaintiff, a defendant, or a witness (fact or expert )
         in a lawsuit? Please explain.

   6.    Do you have any opinion of the legal system based on your involvement,
         or the involvement of someone close to you, in a case?

   CONNECTIONS TO THE TOPICS IN THIS CASE

   7.    Do you have any personal knowledge of this case or other cases dealing
         with the music industry and alleged copyright infringement, or have you
         read about or heard them discussed? Or have an opinion regarding it?

   8.    Have you or someone close to you ever had education, been employ e d,
         trained, or had any experience in any of the following areas? If yes,
         please explain.

            • Law

            • Copyrights

            • Finance/Accounting

            • Music Industry

            • Technology (including use of the Internet, computers,
              systems, telecommunications, etc.)

   9.    Do you have any strong feelings positive or negative about Internet service
         providers or cable companies?

   10.   Do you have any strong feelings positive or negative about music
         publishers or record companies?




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     ABILITY TO SERVE AS A FAIR AND IMPARTIAL JUROR

     11.   Do you have any special disability or problem that would make it difficult
           or impossible for you to serve as a member of the jury in this case?

     12.   This trial is expected to last up to 15 trial days and should be finished by
           August 31. Is there any reason why you cannot serve as a juror for this
           period of time?

     13.   Do you know of any other matter or opinion which you think may
           prevent you from rendering a fair and impartial verdict based solely upon
           the evidence and my instructions as to the law? This is the time for you
           to give us any additional information we may have failed to ask about,
           which you think may bear on your ability to serve as a juror and to fairly
           and impartially weight the evidence. If anyone is uncomfortable discussing
           something in front of the panel, we would be happy to have you speak with
           the court and the parties privately. Please raise your hand if there are any
           matters you wish to bring to our attention.

 DISPUTED QUESTION: Plaintiffs propose including the following additional
 question, to which Bright House objects. 2

     14.   Have you ever used a peer-to-peer network?




 2
    Bright House objects to the inclusion of any non-agreed-upon questions as in violation of the Court’s
 Scheduling Order, which permits only a “single list of jointly-proposed questions.” Dkt. 314 at 10. Bright
 House further objects to the substance of Plaintiffs’ proposed question as unduly prejudicial and designed
 to pre-condition the jury.
                                                     4
